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     IT IS ORDERED as set forth below:



     Date: January 26, 2023
                                                         _________________________________

                                                                   Barbara Ellis-Monro
                                                              U.S. Bankruptcy Court Judge

    ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                         :           CASE NO. 21-54552-BEM
                                               :
DAVID ESCOBEDO HIDALGO,                        :           CHAPTER 7
                                               :
         Debtor.                               :
                                               :

     ORDER AUTHORIZING SETTLEMENT UNDER RULE 9019 OF THE FEDERAL
                  RULES OF BANKRUPTCY PROCEDURE

         On December 28, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of David Escobedo Hidalgo (“Debtor”), filed a

Motion for Order Authorizing Settlement under Rule 9019 of the Federal Rules of Bankruptcy

Procedure [Doc. No. 40] (the “Motion”) and related papers with the Court, seeking an order,

among other things, approving a settlement agreement (the “Settlement Agreement”) between

Trustee; Freedom Mortgage Corporation (“Freedom”); and Caliber Home Loans, Inc.

(“Caliber” and with Trustee and Freedom, the “Parties”) related to the Debtor’s former interest1


1
       In October of 2022, Trustee sold the Property and netted the Bankruptcy Estate
approximately $193,000.00 from the sale (the “Net Sale Proceeds”). See [Doc. No. 36].
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in certain improved real property with a common address of 114 Truman Court, Jackson,

Georgia 30233-5044 (the “Property”) and the alleged security interest of Freedom in the same.

More specifically, under the terms of the Settlement Agreement, inter alia,2 within 10 days of the

Settlement Approval Order3 becoming a final order, Trustee shall pay to Freedom $125,047.00

from the Net Sale Proceeds (the “Trustee Settlement Funds”) in one lump sum payment by

delivering a check to Freedom in the amount of $125,047.00. Moreover, within 10 days of the

Settlement Approval Order becoming final, Freedom shall pay to Trustee $17,500.00 (the

“Freedom Settlement Funds”) in one lump sum payment by delivering a check to Trustee in

the amount of $17,500.00. In addition, the Parties stipulate and agree that Freedom and Caliber

shall not have a claim as an unsecured creditor in the Bankruptcy Case against the Bankruptcy

Estate for any reason, and that neither Freedom or Caliber, nor any of their affiliates, agents,

principals, or subsidiaries shall receive a distribution from the Bankruptcy Estate as an unsecured

creditor. In addition, within ten (10) business days of the later of: (a) the Settlement Approval

Order becoming a final order, (b) Trustee’s paying the Trustee Settlement Funds to Freedom, or

(c) Freedom’s paying the Freedom Settlement Funds to Trustee; Trustee, Freedom, and Caliber

shall file a stipulation dismissing with prejudice the Adversary Proceeding styled as Hays v.

Caliber Home Loans, Inc., et al. (Adv. Pro. No. 21-5098-BEM). Finally, the Parties grant broad

and general releases to one another. The exact terms of the Settlement Agreement are set forth

on Exhibit “A” to the Motion.

       Also on December 28, 2022, Trustee filed a Notice of Motion for Order Authorizing



2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
3
       Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.
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Settlement under Rule 9019 of the Federal Rules of Bankruptcy Procedure; Deadline to Object;

and for Hearing [Doc. No. 41] (the “Notice”) regarding the Motion, in accordance with the

Second Amended and Restated General Order No. 24-2018, and setting a hearing on the Motion

for January 24, 2023 (the “Hearing”). Counsel for Trustee certifies that he caused the Notice to

be served on all requisite parties in interest on December 28, 2022. [Doc. No. 42].

       No objection to the relief requested in the Motion was filed prior to the objection

deadline provided in the Notice and pursuant to the Second Amended and Restated General

Order No. 24-2018.

       Counsel for Trustee appeared at the calendar call for the Hearing. No other party in

interest appeared.

       The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

       ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated into this Order. It is further

       ORDERED that Trustee may take any other actions necessary to satisfy the terms of the

Settlement Agreement, including paying the Trustee Settlement Funds to Freedom in accordance

with the terms of the Settlement Agreement. It is further

       ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.
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                                      [END OF DOCUMENT]

Order prepared and presented by:

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Attorneys for Trustee

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Identification of entities to be served:

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